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                      IN THE UNITED STATES DISTRICT COURT
                                                                      RECEIVED
                             FOR THE 'IllIRD CIRCUIT
                                                                          AUG 3 1 2018
United States of America
                                                                            Chambers of
                                             Civil Action No. : 17-2CMme E. Thompson, U.S.D.J.
v.
                                             Criminal Case No.: 3:12-CR-204-01 (MLC)

C. Tate George
     (Petitioner)



            PETITIONER'S MoTION TO IMMEDIATELY UNSEAL PETITIONER'S
                   POST TRIAL EVIDENCE FILED WI'Ill THE COURT
                           UNDER DOCUMENT #210-7121
                   FILED 2/16/16 CASE #12-CR-00204-01 (MLC)
     Now before the Court, Petitioner Co Tate George, pro se, Motion to Compel
the Court to grant Petitioner's Motion to "Unseal" post-trial key evidence
in support of Petitioner's 2255 petition as well as for the Motion for Immediate
Summary Judgment Under Rule 56. This Motion is timely filed to address the
District Court's error in sealing vital exculpatory and impeaching evidence
from the public during the post-trial proceedings.

                                 BRIEF HISTORY
     (Post-Trial) Petitioner, proceeding pro se, provided thousands of documents
taken from the Government's "Brady" discovery disk (once unblocked) to the
Court. 'Ihe Court decided (for Good Cause) to seal evidence it presumed sensitive
to the public. This Ruling was given without consideration of Federal Rules
and Procedures Rule 5.2 and Rule 49.1 Privacy and Protection for Filing made
with the Court. (Aiso include Rules §649ol.02, §64901.06, §649.1.0~, §649.L11,
§606.06, and §2247, etc.).

                        SUPPORTING FACTUAL POSITION{S)
     It is clear where the Federal Rules give specific reasons why a Court
may enter Protective Order for Good Cause wher<e it states:

#1  §606.06 Secrecy of Grand Jury Proceedings
     It is a long-established policy that the secrecy of grand jury proceedings
should be carefully maintained. Secrecy helps to prevent the escape of prospective
indictees by providing no forewarning of the investigation in progress; it

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ensures that the grand jury investigation can proceed freely by protecting
the grand· jurors from outside influences and threats of reprisal; it serves
to prevent the subornation of perjury and tampering of witnesses without fear
of retaliation; and finally, it acts as a shield by protecting innocent people
under investigation from the injury to their reputations that could be caused
by the disclosure of baseless accusations. However, the secrecy of grand jury
     ;··


proceedings is not absolute. The Supreme Court has stated that "in some situations
justice may demand that discrete portions of transcripts be made available
for use in subsequent proceedings."
(The documents provided to the Court does not include Grand Jury proceedings).

#2  §649.1.07 Court May Enter Protective Orders for Good Cause
     When necessary to protect against disclosure to nonparties of sensitive
or private information, the court may order in a particular case more extensive
redaction than otherwise required by Rule 49.1.1. The court can accomplish
this by entering protective orders based on good cause. Under Rule 49.1, when
the court finds good cause, the court may by order in a case require redaction
of additional information or limit or prohibit a nonparty's remote electronic
access to a document filed with the court. The availability of a protective
order does not affect the limitations on sealing that are otherwise applicable
to the court.

(All doct.unentation filed with the,, Court does not include sensitive or private
information disclosure to non-parties).

#3 'The Court Went as Far as:::·to ''Not Order" that the Documents ·be Redacted(.
under Rule 49.l(A) Because None of the Information Listed Within this
Statute Applies WJ::iere it States:
     (a) Redacted Filings.
      Unless the court orders otherwise, in an electronic or paper filing with
the court that contains an individual's social-security n~ber, taxpayer-identification
number, or birth date, the name of an individual known to be a minor, a financial
account number, or the home address of an individual, a party or nonparty
making the filing.

Furthering in Rule 49.l(A)
     Provides for the public filing of some information, the rule does not


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intend to establish a presumption that this information never could or should
be protected. It may be necessary for privacy or security reasons in certain
cases to prevent remote access by nonparties to any part of an account nlh~ber
or social-security number to protect information not covered by the redaction
requirement in a particular case. 'Ibis will require protection to be sought
under sulxlivision (d) or (e) of Rule 49.1.2. 'Ihere are no documents filed
that need to be redacted due to the above items listed are not a part of any
documents filed with the Court.
     In fact, under Rule 49.1(b)(6), pro se litigants are exempt from the
redaction requirements and does not apply under 28 u.s.c (2241, 2254 or 2255).

     Protective Ordef.s. Fed.R.Crim.P.49.1, advisory corrmittee note; see United
States v. Mazen Alxlallah, 2009 U.S. Dist. LEXIS 63879, at -1:4-·k7 (S.D. Tex.
July 24, 2009)(in Medicare and Medicaid fraud case the government moved to
seal the entire record for appeal to prevent disclosure of private patient
information; court concluded that government did not show good cause under
Fed.R.Crim.P.49.l(e) to seal the entire trial transcript, only for redaction
of specific personal identifiers listed under Fed.R.Crim.P.49.1; trial testimony
about patients' medical histories and treatments was offered by the patients
themselves in open court and was·a vital part of the government is case, and
the asserted privacy interest of the patients is not having the trial transcript
publicly available does not outweigh the public's common-law right of access
to the court documents and proceedings) • ,
     The case at Bar falls under the similar issues as U.S. v. Mazen Alxlallah.
Witnesses that were a part of the ( an~ not a part of) criminal proceeding
of Petitioner: is currently a part of open court civil proceedings with most
of the documentation filed with the District Court. Tnere is extensive case
law that gives the opinion, such as Lytle v. J.P. Morgan Chase Where it states:
All documents in support of or in opposition to financial company's motion
for summary judgment were to be unsealed in their entirety, as financial company
did not contend that alleged injured person would suffer any in_;ury if information
is made public, and because alleged injured person himself had not opposed
unsealing of information; thus, any privacy interest that alleged injured
person may have in protecting information was outweighed by presumption of
access to it, except for one document containing certain personal information
relating to alleged injured person, parts of which were. 'to remain redacted
pursuant to Fed.R.Civ.P.52. Lytle v. JP Morgan Chase. 810 F Supp 2d 616 (SDNY
2011).
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                                     AFFIDAVIT
     I HEREBY CERTIFY that the foregoing facts are true and correct to the
best of£I¥t· knowledge and belief upon                              28 USC §1746.




                              CERTIFICATE OF SERVICE
     I HEREBY CERTIFY that a copy of the following motion for Immediate       Unseal~ng

Of Pe ti tioner's Post-Trial Evidence was mailed on this   'J-z#t   day of   Juf"'ff
2018, ;by first-class mail, postage prepaid to: Zack Intrader, AUSA Office
of the US Attorney, 970 Broad St, Rm. 700, Newark, NJ 07102.
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                                  CONCLUSION
     Under Rule 228 Confidentiality (b) Publicity of Court Proceedings.
     On order of the Court portions or all of the hearings, testimony, evidence,
and reports in any action under this Title may be closed to the public or
to inspection by the public, to the extent deemed by the Court to be appropriate
in order to preserve the anonymity, privacy, or confidentiality of any person
involved in an action within Code Section 6110. See Code Section 6110(f)(6).
     The Court errored assuning there was a need for anonymity privacy or
confidentiality. In addtion, the Government did not request any post trial
evidence be sealed due to a need for privacy to anyone directly and/or indirectly
including evidence left out of trial now in support of Petitioner's motions.
     As a matter of law, in Rule 649.1.06(2) the Court may order documents
filed under seal to be "unsealed". Also. it cannot go unnoticed in Rule §2247
- Documentary evidence:
     On application for a writ of habeas corpus documentary evidence, transcripts
of proceedings upon arraignment, plea and sentence and a transcript of the
oral testimony introduced on any previous similar application by or in behalf
of the same petitioner, shall be admissible in evidence. (June 25, 1948, ch
646, 62 Stat. 966).
     Based on the foregoing undisputed factual and legal matters listed in
this Motion (not to mention the need to unseal vital evidence to the public
under the Freedom of Information Act); there is no question that Petitioner
is entitled-to have this Motion to "Grant" the unsealing of all documents/evidence
previously provided to the Court post-trial.

                            SPECIFIC RELIEF SOUGHT
     WHEREFORE. the Petitioner. C. Tate George, pro se, hereby respectfully
requests this Honorable Court to Grant the unsealing of exculpatory and impeach~ng ·:
Goverttment and Petitioner's evidence left out of trial proceedings at no
fault of Petitioner at trial; filed under Document No. 210-7121 filed 2/16/16
by the Court - Case No. 12-CR-00204-01 (MLC) immediately and for such other
and further relief deemed proper and necessary in the INTEREST OF JUSTICE.

Dated:   hr'    ~'f-1' I   ZOI   ~


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                                                                 Judge Anne Thompson
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